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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF HAWAI‘I

  PATRICK FEINDT, JR. et al.,                 CIVIL NO. 22-cv-00397-LEK-KJM
                                              (FEDERAL TORT CLAIMS ACT)
         Plaintiffs,
  v.                                          NOTICE OF VOLUNTARY
                                              DISMISSAL WITHOUT
  UNITED STATES OF AMERICA,                   PREJUDICE OF SAORI AUBART’S
                                              AND ELSA GUERRA’S CLAIMS
         Defendant.                           AGAINST THE UNITED STATES



                                              JUDGE: Hon. Leslie E. Kobayashi
                                              TRIAL DATE: March 25, 2024


       NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF
             SAORI AUBART’S AND ELSA GUERRA’S CLAIMS
                    AGAINST THE UNITED STATES

         In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs

  give notice that Saori Aubart’s and Elsa Guerra’s claims under the Federal Tort

  Claims Act brought against the United States in Feindt v. United States (No. 22-cv-

  00397) are dismissed without prejudice. (See ECF No.60, No. 22-cv-00397,

  Second Am. Compl. ¶¶ 237-309). Defendant United States has not served an

  answer or motion for summary judgment in this action. Accordingly, Plaintiffs

  notice the voluntary dismissal of Saori Aubart’s and Elsa Guerra’s claims in this
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  action, without prejudice. See Fed. R Civ. P. 41(a)(1)(B). Each party will bear their

  own attorney’s fees, costs, and expenses in this matter.




  DATED: Honolulu, Hawai‘i, June 14, 2023.

   /s/ Lyle S. Hosoda                          /s/ Kristina S. Baehr
   LYLE S. HOSODA                              KRISTINA S. BAEHR
   KOURTNEY H. WONG                            JAMES BAEHR
   SPENCER J. LAU
                                               /s/ Frederick C. Baker
                                               FREDERICK C. BAKER
                                               JAMES W. LEDLIE
                                               KRISTEN HERMIZ
                                               CYNTHIA A. SOLOMON
                                               SARA O. COUCH
   Attorneys for Plaintiffs




                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was

  filed and served on counsel of record via the U.S. District Court’s CM/ECF

  electronic filing system on June 14, 2023.

                                               /s/ Kristina S. Baehr
                                               Kristina S. Baehr
